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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
--------------------------------------------------------- X
                                                          :
UNITED STATES OF AMERICA,                                            Hon. Michael A. Hammer
                                                          :
                  -against-                                          Crim. No. 2:19-cr-877-CCC
                                                          :
MATTHEW BRENT GOETTSCHE,                                             Oral Argument Requested
RUSS MEDLIN,                                              :
JOBADIAH SINCLAIR WEEKS,                                             FILED UNDER SEAL
JOSEPH FRANK ABEL, and                                    :
SILVIU CATALIN BALACI
                                                          :
                           Defendants.
--------------------------------------------------------- X


                  DEFENDANT MATTHEW BRENT GOETTSCHE’S
              MOTION TO MODIFY CONDITIONS OF PRETRIAL RELEASE


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the funds and further negating any alleged risk of flight. Second, various modifications proposed

by consent and approved by the Court have been met with full compliance, further demonstrating

that additional modifications are reasonable.         Third, practicality and fairness support the

modification of Mr. Goettsche’s release conditions. His trial has already been delayed for years

because of the COVID-19 global pandemic and, at present, no trial date has been set.

       Absent the proposed modifications, Mr. Goettsche will continue to be under extremely

strict conditions for a lengthy period. His immediate family members, i.e., his third-party

custodians, will also be tethered to him for the duration, which is immensely burdensome on them.

He will also continue to be denied the opportunity to meaningfully participate in his children’s

activities outside of the residence, such as serving as a volunteer sports coach or driving his

children to playdates. Moreover, it means that, without the ability to use the internet or computers

at his residence without attorney supervision, Mr. Goettsche’s ability to assist in his own defense

would remain significantly constrained. The current conditions require him to travel 25 miles

daily to his local counsel’s office in Denver at the pre-approved time periods to use a computer

under the supervision of counsel to review discovery. This means he can neither access pretrial

discovery currently loaded to a review platform nor review attorney work product or communicate

over email with defense counsel from home. Mr. Goettsche respectfully submits that the present

conditions are no longer the least restrictive necessary to ensure his appearance at trial.

       Accordingly, Mr. Goettsche respectfully requests four reasonable and narrowly tailored

modifications to the conditions of his pretrial release, with the other conditions remaining intact.

       First, Mr. Goettsche seeks to change his home incarceration to a curfew between 6:00 p.m.
       to 8:00 a.m. with the added condition that he must be accompanied by a third-party
       custodian if he leaves the residence between 8:00 a.m. and 6:00 p.m. for events within the
       state of Colorado and pre-approved by Pretrial Services.




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       Second, he asks that the requirement that he be in the presence of a third-party custodian
       (i.e., his wife, mother, or mother-in-law) at all times be eliminated, except when Mr.
       Goettsche leaves his residence between 8:00 a.m. and 6:00 p.m. as approved by Pretrial
       Services. The responsibilities of each of the third-party custodians to the Court would
       otherwise remain unchanged.

       Third, Mr. Goettsche seeks permission to use the internet and a computer at home without
       supervision of counsel. Any computer at home will be subject to Pretrial Services
       inspection at any time. He would also be expressly prohibited from accessing or moving
       any form of cryptocurrency.

       Fourth, he seeks to release from escrow all rental income from two properties subject to
       the bond but not the PIRO, both for income that is currently held in escrow and for future
       rental payments.

       As explained further below, these modifications are tailored to the following specific

purposes: (i) to augment Mr. Goettsche’s ability to prepare his defense at trial by enabling him

easier access to discovery related to his case; (ii) to ease the extreme burden placed on Mr.

Goettsche’s third-party custodians, who are required to be in his presence at all times, despite his

electronic monitoring bracelet; (iii) to afford a reasonable degree of normalcy for his children; and

(iv) to provide Mr. Goettsche with available cash and assets to pay for his family’s day-to-day

living expenses and attorney’s fees and expenses.

       Both Pretrial Services, through Officer David Hernandez, and the government, through

Assistant U.S. Attorney Jamie Hoxie, object to these proposed modifications.




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                                         BACKGROUND

   I.       Indictment, Arrest, and Bail Proceedings

         Mr. Goettsche was indicted on December 5, 2019, along with four other individuals, for

conspiracy to commit wire fraud and conspiracy to offer and sell unregistered securities. He was

arrested in the District of Colorado, where he has been a lifelong resident, on December 10, 2019.

A Magistrate Judge in the District of Colorado denied Mr. Goettsche bail following a detention

hearing on December 13, 2019. This Court then held a detention hearing on February 13 and 14,

2020, and ordered Mr. Goettsche’s detention based on risk of flight. (See Order of Detention

Pending Trial, dated Feb. 14, 2020 (ECF No. 49) (the “Detention Order”); Feb. 14, 2020 Bail Hr’g

Tr. at 161:10-14 (ECF No. 57)).

         Mr. Goettsche appealed the Detention Order to the District Court. After the government

produced voluminous discovery and the parties submitted (under seal) extensive briefing on the

issues, the District Court referred the matter back to this Court. (See Order of Referral, dated Dec.

8, 2020 (ECF No. 164)); see generally Government’s Opposition to Defendant Goettsche’s

Detention Appeal dated Nov. 13, 2020 (filed under seal) (hereinafter “Gov’t Bail Opp’n”).

Thereafter, on December 11, 2020, the Court held a further hearing and granted Mr. Goettsche’s

request for bail. (See Order Setting Conditions of Release, dated Dec. 11, 2020 (ECF No. 171)

(the “Release Order”).)

   II.      The Release Order

         The Release Order set bail at $20 million and required Mr. Goettsche to execute a secured

appearance bond.     (Id. at 1.) Under the appearance bond, if Mr. Goettsche fails to appear as




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required, he agrees to forfeit the equity in nine real properties, 1 totaling approximately $8.6

million. (See Appearance Bond ¶ 3(b) (ECF No. 181)).

           In addition to the secured bond, the Release Order includes numerous stringent conditions,

including but not limited to:

              •   Reporting to Pretrial Services;

              •   Release into third party custody, with whom he must be in the presence of at all
                  times unless pre-approved;

              •   Surrender all of Mr. Goettsche’s, his wife’s, and his three minor children’s
                  passports and travel documents;

              •   Prohibition of contact with co-defendants unless in the presence of counsel;

              •   24/7 home incarceration with electronic monitoring;

              •   All funds from rental properties must be placed in an escrow account;

              •   Prohibition on the use of the internet and on the possession and/or use of computers
                  or electronic devices unless in the presence of counsel;

              •   Prohibition on the possession of a cell phone without prior approval; and

              •   Report to Pretrial Services all transactions over $5,000.

(See Release Order at 1-2). Mr. Goettsche’s record of full compliance with each of these

conditions remains unblemished.

    III.      Consent Modifications to the Release Order

           Mr. Goettsche’s record of compliance with subsequent consent modifications is likewise

exemplary. For example, in March 2021, the Court granted Mr. Goettsche’s request—with the

government’s consent—to modify his bail conditions to allow Mr. Goettsche to go to the Denver

office of his lawyers at Ridley, McGreevy & Winocur, P.C. (the “Denver Office”) at time periods


1
 This includes the three respective homes of Mr. Goettsche with his wife and three children, his
mother and his mother-in-law.
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inspection with Pretrial Services. Officer Hernandez later instructed the undersigned counsel to

report the details to the Court. (ECF No. 233).

        Second,




             During these events, Mr. Goettsche provided advance notice and kept in contact

with Pretrial Services as the day progressed.

        Third,




         Mr. Goettsche kept in continuous contact with Pretrial Services and even provided

photographic proof of the emergency

                                           .

   V.      The Post-Indictment Restraining Order

        On July 20, 2021, the government obtained an ex parte post-indictment restraining order

(PIRO) significantly encumbering a substantial portion of Mr. Goettsche’s assets. The PIRO

restrained Mr. Goettsche’s interests in a wide variety of domestic and international real properties,

corporate entities, business ventures, at least one bank account, and other assets. Among other

things, the PIRO has had two practical effects. First, it has substantially curtailed Mr. Goettsche’s

financial assets for his and his family’s monthly expenses and his attorney’s fees. Second, it has

undermined the government’s argument that he has access to tremendous wealth rendering him a
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serious flight risk. Shortly thereafter, the government filed a Third Bill of Particulars clarifying

the forfeiture allegations of the Indictment to include, among other things, property in Belize and

Costa Rica and cryptocurrency held in Blockchain.com digital wallets. (ECF No. 198) (the “Third

Bill of Particulars”).

    VI.      Other Co-Defendants’ Bail Conditions

             A. Defendant Joby Weeks on Curfew

                                                               , Co-Defendant Joby Weeks is

currently on curfew with the consent of Pretrial Services and no objection from the government.

He is permitted to go to family events, family gatherings, religious services, and family

residences within Colorado, provided he is accompanied by a third-party custodian and provides

advance notice to Pretrial Services. (ECF No. 255). On November 5, 2020, Weeks pleaded

guilty to felony offenses, namely conspiracy to sell unregistered securities in violation of 18

U.S.C. § 371 and tax evasion in violation of 26 U.S.C. § 7201. (ECF Nos. 147-148). After

Weeks pleaded guilty, 2 he was released on bond with the express condition that he “shall provide

a full accounting of all financial holdings including domestic and foreign bank accounts, as well

as Krypto [sic] currency holdings to Pretrial Services and the Government.” (ECF No. 153 at 2).

          On August 6, 2021, the government filed a motion under seal to revoke Weeks’ bail.

(ECF No. 202). While the contents of the revocation motion remain unknown,




2
 As the Court is aware, under 18 U.S.C. § 3143(a), a defendant found guilty of an offense shall
be detained absent clear and convincing evidence that the defendant is not a flight risk.
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                                   .3




                                                                                      .

       Weeks’ bail revocation did not move forward, and he changed counsel. (ECF No. 202).

On August 23, 2021, approximately three weeks after the government moved for bail revocation,

Weeks’s bail conditions were instead modified by consent to permit him access to computers

with internet access and to impose, for a second time, the condition that he “must disclose any

and all cryptocurrency holdings acquired or held” was imposed. (ECF No. 206 at 2). He was

also permitted to possess a cell phone with no internet capabilities and conduct cryptocurrency

transactions with notice to Pretrial Services. (ECF No. 220). These modifications were based, in

part, “upon subsequent agreement by the parties.” Id.

           B. Defendant Gordon Brad Beckstead on Unsecured Bond

       On March 24, 2022, Defendant Gordon Brad

                                             pleaded guilty to conspiracy to commit money

laundering and filing a false tax return. (United States v. Beckstead, 22-cr-00204 (CCC) (D.N.J.)

(ECF Nos. 1, 8).) He is on pretrial release with a $100,000 unsecured bond. (ECF No. 6).




3
  Prior to his guilty plea, the government opposed Defendant Weeks’ bail application and noted
that “U.S. law enforcement lacks visibility into [Weeks’ financial holdings scattered around the
world] … it is unclear how much cryptocurrency Weeks maintains.” (ECF 24 at 16-19.) The
government also claimed that “Weeks has a demonstrated history of refusing to follow rules that
do not suit his needs and has a demonstrated streak of anti-government rhetoric.” Id. at 20
(describing examples of Weeks’s “anarchist views” and “anti-government rhetoric”).
4
  See Gov’t Bail Opp’n at 9.
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                                                              . His September 2022 sentencing

also appears postponed indefinitely. 5

    VII.        The Government’s Flight Risk Arguments Remain Unfounded

       The government remains opposed to the proposed modifications. However, time has

proven that the government was flatly wrong that no bail conditions would reasonably ensure Mr.

Goettsche’s appearance. Mr. Goettsche has neither fled nor violated a single bail condition or

modification.   Indeed, over these twenty months on release, the concerns the government

articulated throughout the detention, bail, and appeal process have proven to be without merit. As

such, the perceived need for extreme bail conditions, namely house incarceration, the 24/7 third-

party custodian requirement, computer and internet restrictions, and rental income in escrow, has

dissipated.




5
 In addition, the sentencing hearings of Defendants Weeks, Catalin Balaci and Joseph Abel have
been rescheduled multiple times and are presently set for March 2023.
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                                                                   Yet at the December 2020 bail

hearing, this Court noted that it “heard nothing” providing any “significant indication” of such

unaccounted-for wealth, and the Court “t[ook] to heart” the fact that, when the defense discovered

about $8 million of cryptocurrency on cold storage wallets that the government itself had produced

in discovery but overlooked, the defense disclosed this fact to the government. (12/11/20 Tr. at

63-64.)

          Since Mr. Goettsche’s release, there has been no evidence whatsoever that Mr. Goettsche

has accessed or moved any of the so-called “unaccounted for” cryptocurrency. To the contrary,

the past twenty months belie the government’s concerns and undermine any reasonable argument

that the current bail conditions are the only reason Mr. Goettsche has not done so.




6
 The BCN main mining wallet address is 155fzsEBHy9Ri2bMQ8uuuR3tv1YzcDywd4 and was
publicly identified by BCN to its customers to allow customers to review the receipt of BTC
mining rewards and transactions. This wallet address remains publicly available for review at
https://www.blockchain.com/btc/address/155fzsEBHy9Ri2bMQ8uuuR3tv1YzcDywd4.
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custodian at all times. His present bail conditions as modified are, as a practical matter, de facto

home detention. This modification to curfew would allow Mr. Goettsche to spend more time at

the Denver Office to review discovery (absent a modification of the computer restriction condition)

and to help run daily errands, such as going to the hardware store or animal feed store, currently

forced exclusively upon his wife. More importantly, it would allow Mr. Goettsche the equitable

chance to parent his children on playdates, sports practices, and other school activities. As

measures of security, the continuous presence of a third-party custodian with Mr. Goettsche while

outside of the residence, the ankle bracelet monitoring, and the advance notice to Pretrial Services

mitigate any perceived risk of flight, similar to the conditions afforded Weeks.

       2. That the 24/7 third-party custodian presence requirement at home be eliminated.

Modification of this condition is intended to alleviate the weight on Mr. Goettsche’s wife, mother,

and mother-in-law to have daily coordination of schedules to be home with Mr. Goettsche,

particularly now that it has become clear any trial date may not take place for an extended period

of time. The ankle bracelet, the requirement of advance notice of travel to Pretrial, and the required

land line for Pretrial Services phone call checks collectively address risk of flight.

       3. That Mr. Goettsche be permitted to have internet and computer access at home without

supervision with the added condition that Mr. Goettsche is prohibited from accessing, moving, or

utilizing any cryptocurrency. This would be a modification to his current condition (limited

internet access for document review from a designated computer at the Denver Office) to afford

him the opportunity to review discovery from home, outside the confines of the designated

business hours of the Denver Office, the commute to Denver and the attendant costs. Pretrial

Services’ ability to inspect any computer at home with the condition that there be no attorney-

client privilege waiver, the government’s demonstrated capabilities to identify, monitor and even



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        Meanwhile, the adjustment by consent of Weeks to curfew serves as a useful guidepost.

The opposition of Pretrial Services and the government to the instant proposals remains baffling

in light of the collective acceptance of Weeks’s curfew




                                                                                 Nevertheless, it

appears that Defendant Weeks’ curfew conditions, particularly the ankle bracelet and third-party

presence while out of the residence, have proven to be effective. Mr. Goettsche’s proposed curfew

conditions, mirroring Weeks’ curfew, should more than reasonably assure the Court that the risk

of flight is nil.

        Continued bond conditions on curfew should also provide ample safeguards. The GPS

ankle bracelet has proven to be both accurate and reliable. The $5,000 transaction notice affords

Pretrial Services the ability to identify any significant expenditures. Mr. Goettsche’s proposed

advance notice of travel to Pretrial Services for any departure from the residence between



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authorized hours affords Pretrial Services the power to identify any deviations. The added

condition that a third-party custodian accompany him when he leaves the residence enhances these

safeguards even further. Under these added conditions, neither the government nor Pretrial

Services can reasonably claim that they will not know exactly where Mr. Goettsche is, when he

leaves, where he is going, and when he returns.

   B. The Court should eliminate the requirement that Mr. Goettsche be in the presence of
      a third-party custodian at all times.

       The past twenty months have likewise proven that the third-party custodian presence

condition is both unnecessary and severely burdensome on Mr. Goettsche’s family members and

will continue to be, likely for a lengthy period. Accordingly, Mr. Goettsche seeks to eliminate this

modification to reduce those burdens, like the constant coordination between the third parties’

schedules between school, sports, personal travel and work, on Mr. Goettsche’s wife, mother, or

mother-in-law. The practical effect here would be that Mr. Goettsche could remain at home while

his wife can handle her parenting responsibilities and run routine errands without having to call

another third-party custodian over to the house. At all times, Mr. Goettsche’s physical location

would still be known to Pretrial with the GPS ankle monitoring.

   C. The Court should permit Mr. Goettsche to have internet and computer access.

       Under the March 2021 Modifications, Mr. Goettsche can use a computer only to review

discovery at the Denver Office after commuting an hour back and forth during designated times

and under the supervision of counsel. The volume of discovery is tremendous, and it is believed

that a substantial volume of supplemental discovery is forthcoming. The proposed modification

would enable him to review discovery unencumbered, conduct internet-based research,

communicate with the legal team by e-mail, create and review attorney work product, and more

generally to prepare his defense in this case.


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        Research of transactions on the public blockchain on the internet, in particular, is a critical

aspect for preparing the defense to this case. For example, this public blockchain, available at

https://www.blockchain.com/explorer, identifies the wallet addresses of the participants in any

given transaction. Mr. Goettsche can assist in his own defense by identifying and analyzing those

relevant cryptocurrency transactions and wallet addresses on the public blockchain with wallet

addresses that are associated with specific parties, witnesses, and even BitClub customers

identifiable in discovery. To be clear, by reviewing such publicly available transaction data or

identifying wallet addresses of individuals, Mr. Goettsche could in no way access and/or engage

in cryptocurrency transactions of any kind. Modifying Mr. Goettsche’s bail to permit him to use

the internet at home, particularly searching the public blockchain, will be a cost-effective measure

and afford him this critical access that he has not had since his arrest in December 2019. 13

        Thus far, Mr. Goettsche’s proven track record of compliance with bail conditions when he

reviews discovery at the Denver Office should give the Court assurance that his utilization of the

internet from a PC at home will be without issue. There has been no evidence whatsoever that he

has attempted to use any computer at the Denver Office to contact any supposed international co-

conspirators (or anyone else) or to access or otherwise engage with any hidden cryptocurrency.

And under the proposed modification, Mr. Goettsche would be prohibited from accessing any

theoretical hidden cryptocurrency.

     D. The Court should authorize the release of rent generated by two properties.

        For similar reasons, Mr. Goettsche requests that the Court release rental income from two

properties identified above (                           . Boulder, CO 80303; and



13
  Mr. Goettsche’s internet restrictions relatedly also deprive him of the most routine parenting
responsibilities. He is unable to assist his children with internet-based research for school
projects. Mr. Goettsche is also unable to participate in Zoom parent-teacher conferences.
                                                  20
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                  , Erie, CO 80516) currently held in escrow. The requested modification would

include approximately $         in past rental income currently held in escrow.

       Since his release, Mr. Goettsche’s cash flow has been extremely limited, especially given

the impact of the PIRO on his ability to liquidate and/or collect income on a substantial number of

assets to provide cash for his and his family’s living expenses and on the restriction on his ability

to have employment under his bail conditions. These are changed circumstances warranting the

requested modification. And there is no basis to infer that releasing the rental income from these

properties, which are not subject to the PIRO—totaling about                                      —

will somehow encourage Mr. Goettsche to flee. It will not. The $5,000 transaction notification

requirement will continue to serve as an additional safeguard.




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                                        CONCLUSION

        For the foregoing reasons, Mr. Goettsche respectfully requests that the Court permit the

four requested modifications to Mr. Goettsche’s bail conditions.


 Dated: September 20, 2022

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